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                                                                           United States District Court
                                                                             Southern District of Texas

                        UNITED STATES DISTRICT COURT                            ENTERED
                         SOUTHERN DISTRICT OF TEXAS                             July 22, 2022
                             HOUSTON DIVISION                                Nathan Ochsner, Clerk



UNITED STATES OF AMERICA                    §
                                            §
versus                                      §        Criminal No. 4:22−cr−00328
                                            §
John Michael Stewart                        §

                                        ORDER

      In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the
Government is ORDERED to comply with the prosecutor's disclosure obligations under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny. The Government is also notified of
the potential consequences of violating this Order and the disclosure obligations. The
consequences include, but are not limited to, sanctions such as delaying trial or other
proceedings, excluding evidence, giving adverse jury instructions, granting a new trial,
dismissing the case, or finding the Government in contempt.
      It is so ORDERED.
      SIGNED on July 22, 2022.
